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 1
 2
 3
                            UNITED STATES DISTRICT COURT
 4                         EASTERN DISTRICT OF WASHINGTON
 5
      UNITED STATES OF AMERICA,                )
 6                                             )    No. CR-06-6053-WFN-1
                         Plaintiff,            )
 7                                             )    ORDER GRANTING DEFENDANT'S
      v.                                       )    MOTION FOR RELEASE
 8                                             )
      SALVADOR CASTANEDA,                      )
 9                                             )
                         Defendant.            )
10                                             )

11         At the November 30, 2006, hearing on Defendant's Motion to

12   Reconsider Setting Bond/Conditions of Release, counsel Bevan Maxey

13   appeared     with   Defendant;    Assistant       U.S.    Attorney    Aine   Ahmed

14   represented the United States.

15         Defendant originally appeared on October 6, 2006, following

16   arrest on a Complaint for charges of conspiracy to distribute more

17   than five kilograms of cocaine. Thereafter, he was indicted and has

18   been in custody.         He has a trial date of December 18, 2006, in

19   Richland.     Defendant had a detention hearing on October 12, 2006,

20   before Judge Leavitt (Ct. Rec. 25), and two hearings since then

21   (November 3rd and November 30th) with the undersigned to address

22   whether there was a combination of conditions that would reasonably

23   assure that Defendant is not a risk of nonappearance or risk to the

24   community.      (See Ct. Rec. 78, Order Denying Defendant’s Motion to
                                                                          rd
25   Set   Release    Conditions,     following the November 3                 hearing).

26   Following the submission of additional information, including the

27   results of a chemical dependency assessment, the undersigned took

28   this matter under advisement.


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 1         The results of the evaluation conducted by Lakeside Recovery
 2   Centers of Spokane, Inc., reflects a diagnosis of alcohol and
 3   cannabis dependence and cocaine abuse. The treatment recommendation
 4   is to complete a Level II.1 Intensive Outpatient Treatment Program.
 5   Defendant represents that he is ready and willing to do this and
 6   would be able to reside with his sister, Griselda Guevara, who lives
 7   in Pasco, Washington.        Ms. Guevara immediately would notify the
 8   court if she became aware of, or anticipated, a violation of the
 9   conditions of release.        Defendant’s extended family members and
10   three children also live in the Pasco area.
11         Defendant has a criminal history, which includes failures to
12   appear and matters which went to outstanding warrant status.                    In
13   addition, of concern to the undersigned, is that Defendant allegedly
14   possessed a weapon at the time of arrest.
15         However, the representation is that his family will provide
16   support   and   structure    to   assist    him    with    addressing   chemical
17   dependency and chemical abuse issues. Defendant represents that the
18   state warrant matters can be resolved in a manner that would not
19   interfere with Defendant’s federal court schedule.
20         The pending matter also was taken under advisement to permit
21   counsel to further explore the pending warrant matters. On December
22   4, 2006, (Ct. Rec. 88, Declaration of Bevan Maxey) the defense
23   representation was that due to posting $5,600 in bail by family and
24   friends, no outstanding warrants currently exist. The United States
25   has filed a Supplemental Response. (Ct. Rec. 89, December 4, 2006.)
26   The undersigned concludes there is a combination of conditions to
27   reasonably assure that Defendant is not a risk of non-appearance or
28   risk to the community.


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 1         IT IS ORDERED Defendant’s Motion (Ct. Rec. 84) is GRANTED.
 2   Defendant shall be released on the following conditions:
 3         1.        Defendant     shall     participate         in   intensive      outpatient
 4   treatment as set forth above.              Prior to release, an appointment for
 5   Defendant’s first intensive outpatient treatment session must be
 6   made by Defendant and confirmed by Pretrial Services. The treatment
 7   program must be in place and Defendant shall not be released until
 8   the day of his first appointment.               If Defendant fails in any way to
 9   comply     or    cooperate      with    the    requirements        of    the   outpatient
10   treatment program, Pretrial Services and the parties are directed to
11   immediately notify the court.                 Treatment shall not interfere with
12   the Defendant’s court appearances.                Full mutual releases shall be
13   executed    to     permit      communication      between        the    court,   Pretrial
14   Services, and the treatment vendor. If random urinalysis testing is
15   not conducted by the treatment provider, Defendant shall be subject
16   to random urinalysis testing by the United States Probation Office,
17   not to exceed six times a month.
18         2.        Defendant shall reside with his sister, Griselda Guevara,
19   who will transport Defendant to all treatment appointments unless
20   Pretrial        Services      permits      transport        by    another      responsible
21   individual.
22         3.        Except for 1½ hours each week for attendance at spiritual
23   services,        court-related      appearances,       and       outpatient      treatment
24   appointments, the Defendant shall remain under home detention.                           The
25   Defendant shall participate in a program of electronically monitored
26   home confinement.             The Defendant shall wear, at all times, an
27   electronic        monitoring      device      under    the       supervision     of   U.S.
28   Probation.         In   the     event   the     Defendant        does   not    respond   to


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 1   electronic monitoring or cannot be found, U.S. Probation Officers
 2   shall forthwith notify the United States Marshals’ Service, who
 3   shall immediately find, arrest and detain the Defendant.                          The
 4   Defendant    shall   be    responsible      for    all    costs   of    electronic
 5   monitoring.
 6         4.    Defendant shall not commit any offense in violation of
 7   federal, state or local law.
 8         5.    Defendant shall advise the court and the United States
 9   Attorney in writing before any change in address, and he must have
10   prior permission from the court to change addresses.
11         6.    Defendant shall appear at all proceedings and surrender as
12   directed for service of any sentence imposed.
13         7.    Defendant shall sign and complete form A.O. 199C before
14   being released and shall reside at the address furnished.
15         8.    Defendant     shall   remain      in   the    Eastern      District   of
16   Washington while the case is pending.              On a showing of necessity,
17   Defendant may obtain prior written permission to leave this area
18   from the United States Probation Office.
19         9.    Defendant shall not possess a firearm, destructive device
20   or other dangerous weapon.
21         10.   Defendant is further advised, pursuant to 18 U.S.C. §
22   922(n), it is unlawful for any person who is under indictment for a
23   crime punishable by imprisonment for a term exceeding one year to
24   ship or transport in interstate or foreign commerce any firearm or
25   ammunition or receive any firearm or ammunition which has been
26   shipped or transported in interstate or foreign commerce.
27         11.   Defendant shall refrain from the use of alcohol, and the
28   use or possession of a narcotic drug and other controlled substances


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 1   defined in 21 U.S.C. § 802, unless prescribed by a licensed medical
 2   practitioner.     There shall be no alcohol or unlawful drugs in the
 3   home of Defendant’s sister, Ms. Guevara.
 4          12.   Defendant shall report to the United States Probation
 5   Office before or immediately after his release and shall report as
 6   often as they direct, at such times and in such manner as they
 7   direct, but at least three times a week by telephone.                   Defendant
 8   shall contact his attorney at least twice a week.
 9          13.   Defendant shall post a $10,000 corporate surety bond, and
10   a $15,000 unsecured appearance bond, co-signed by Ms. Guevera.
11          Defendant is advised a violation of any of the foregoing
12   conditions of release may result in the immediate issuance of an
13   arrest warrant, revocation of release and prosecution for contempt
14   of court, which could result in imprisonment, a fine, or both.
15   Specifically, Defendant is advised a separate offense is established
16   by the knowing failure to appear and an additional sentence may be
17   imposed for the commission of a crime while on this release.                     In
18   this    regard,   any    sentence     imposed     for     these   violations     is
19   consecutive to any other sentence imposed.
20          IT IS FURTHER ORDERED the United States Marshal shall keep
21   Defendant in custody until notified by the District Court Executive
22   or judicial officer that Defendant has posted bond and/or complied
23   with all other conditions for release.            Until such time, Defendant
24   shall be produced before the appropriate judicial officer at the
25   time and place specified.
26          DATED December 5, 2006.
27
28                             S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE

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